Case: 1:15-cv-07832 Document #: 1 Filed: 09/03/15 Page 1 of 15 PagelD #:1

RECEIVE

UNITED STATES DISTRICT COURT CEIVED

ORTHERN DISTRICT OF ILLINOIS SEP 09 ante
EASTERN DIVISION eo Fats EAA

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

Mike D.Lomeiio Je

 

 

(Enter above the full name
of the plaintiff or plaintiffs in
this action)

15cv7832
vs. ¢ Judge Sharon Jo
hnson c
Sh ¢ ( pGuistrate Judge Daniel NEE
Olsrenille Corre chonal Ceaser C4 - Martin

 

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ERSSHAM WATCH LAND |
CAQACAL TAG Choc, ORAS ;
dL Gord Wea ote ls “EAL,
\osceckvanan Oe ge \acksson '
(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CHECK ONE ONLY:

x COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
PILING.” FOLLOW THESE INSTRUCTIONS CAREFULLY.
panel

 

Case: 1:15-cv-07832 Document #: 1 Filed: 09/03/15 Page 2 of 15 PagelD #:2

 

Plaintiff(s):
A. Name: Micke \ A D. Loméiia IR,
B. List all aliases: —S-

 

 

C. Prisoner identification number: * M- 6 W144
D. Place of present confinement: bale )\\\0 Cae Rchona. Ce Ate
E. Address: a Boy Wa pet TL, \9 gai

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
Separate sheet of paper.)

Defendant(s);
(In A below, place the full name of the first defendant in the first blank, his or her official

Position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)
A. Defendant: \ ACCU WILLIAMS

Title: dAcdaall Cnet SA mustCave alee

Place of Employment: DSTA W@ CacrochyonaL Charice .

B. Defendant: Asstt Wdacden \ ans

Title: Assushank Woacdda

Place of Employment: SHALOM Cocca cana. Cooker
C. Defendant: DR. ORNS M.D.

Title: OOLA\CAL Me choc

Place of Employment: KATHE Cocrechana. (dnbir

(If you have more than three defendants, then all additional defendants must be listed
according to the above format ona separate sheet of paper.)

Revised 9/2607
 

 

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J 5 Case: 1:15-cv-07832 Document #: 1 Filed: 09/03/15 Page 4 of 15 PagelD #:4

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Wi. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A. Name of case and docket number: Viewed ianaig See

—Gonact ekc, dear, \S-C 3qaS
B. Approximate date of filing lawsuit: Korew aN 2o\5 |

Cc. List all plaintiffs (if you had co-plaintiffs), including any aliases:
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D. List all defendants? Tarn Denk (oe Comms Senne,
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Ree Spor 0 BL aan Na odt IN AIAN ION Tate
Tottimomo Ss Aisots,

E. Court in which the lawsuit was filed (if federal court, name the district; if state court,
name the county): \ WAN INeS ToehOvk CAE NORIOGSN Te ROC NS,

F. Name of judge to whom case was assigned: HooeraRe, Woda.
Sharon Sannin, Colgan

: . \ .
G. Basic claim made AMO @ VACA NY Rone 3 THO

 

 

 

H. Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?): SS\\ Ee abo,

 

 

1. Approximate date of disposition yO Oy, Kons A ins Avene

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 "Revised 9/2007
 

Case: 1:15-cv-07832 Document #: 1 Filed: 09/03/15 Page 5 of 15 PagelD #:5

iv. Statement of Claim:
State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legai arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets if
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Revised 9/2007
 

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5 Revised 9/2007
 

Case: 1:15-cv-07832 Document #: 1 Filed: 09/03/15 Page 7 of 15 PagelD #:7

 

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Case: 1:15-cv-07832 Document #: 1 Filed: 09/03/15 Page 8 of 15 PagelD #:8

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+ Case: 1:15-cv-07832 Document #: 1 Filed: 09/03/15 Page 12 of 15 PagelD #:12

¥, Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

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(39) A Aso tmar OO Al rssues Sacre boy Secu,

 

Vi. The plaintiff demands that the case be tried by a jury. Ww YES LJ NO

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court. ,

Signed this OG day of x , 20 1S.

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Revised 9/2007
 

Case: 1:15-cv-07832 Document #: 1 Filed: 09/03/15 Page 13 of 15 PagelD #:13

ILLINOIS DEPARTMENT OF CORRECTIONS (\ \ AVL
aeoot OFFENDER'S GRIEVANCE

 

 

 

 

 

 

 

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Present Facility: Facility where grievance , \ () ~ GRiev,
Ne C issue occurred: N< ¢ VANCE Oppin

NATURE OF GRIEVANCE: i one.

CJ Personal Property [_] Mail Handling (1 Restoration of Good Time (_] ADA Dis

C1 Staff Conduct [1 Dietary JX Medical Treatment 1 HIPAA.

(.] Transfer Denial by Facility [] Transfer Denial by Transfer Coordinator (7 Other (sp

{1 Disciplinary Report: / i

 

Date of Report Facility where issued

Note: Protective Custody Denials may be grieved immediately via the local administration on thie protective custody status notification.

Complete: Attach a cepy of any pertinent document (such as a Disciplinary Report, Shakedown Record, atc.) and send ic.
Counseior, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue involves discipline at the present facility or issue not resolved by Counselor.

Chief Administrative Officer, only if EMERGENCY grievance.
Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary

administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
- Administrative Officer.

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Summary of Grievance (Provide ee Sk a description of what i same when and where it oe
for each person involved): _ > f \ VAS PtOseses ; NEC é OF
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x Check ony if this is a EMERGENCY grievance due to a, sibstantial risk of imminent personal injury or other sericus or irreparable harm to self.

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Counselor's Response (if applicable)

 

 

 

Date

 

 

 

 

 

 

 

 

 

 

 

Received: l f (] Send directly to Grievance Officer (1 = Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, IL 62794-8277

Response:

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Print Counselor's Name Counselor's Signature Date of Response
EMERGENCY REVIEW
Date , —
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Received: C6 fF [ i 2 Is this determined to be of an emergency nature? {_] Yes; expedite emergency grievance

 

ET No; an emergency is not substantiated.
Offender should submit this grievance
in the normal manner.

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Date

Chighagitinistralive Officer's Signature

 

SJ

Distribution: Master File; Offender Page 1 POC 0046 (8/2012)

 
 

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ILLINOIS MEPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE (Continued) ., .

 

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